                    Case 1:05-cr-00205-AWI Document 71 Filed 01/24/07 Page 1 of 1
                                       United States District Court
                                   EASTERN DISTRICT OF CALIFORNIA
                                                                                       FILED  JAN 2 4 2007
                                                                                     CLERK, U.S. DlSTRlC
                                                                                   EASTERN DISTRICT OF


              United States of America
                             VS.                         )   Case No. CR-F-05-0205 AWI
               GAYLIA LOMBARD0


                  CONSENT TO MODIFY CONDITIONS OF RELEASE
1,       Gaylia Lombardo          ,have discussed with             Kimberly M. Dalton            ,Pretrial Services
Officer, modifications of my release conditions as follows:

The order that she participate in a program of medical or psychiatric treatment including treatment for alcohol
or drug dependency as approved by Pretrial Services, be vacated.

All other previously imposed conditions of release remain in full force and effect.



                                                                                         ..
I consent to this modification of my release conditions and agree to abide by this modification,

                                          /- / b -0 7
~igdetureof Defendan]                   Date                         Premal ~&es    Officer         Date



1havelreeRon$&                      A
                                     and concur that this modification isapprophte.
                                                                                               123 0 7
Signature of Assistant United States Attorney                                           Date



I have reviewed the con_ditionswith my client and concur that this modification is appropriate.




                           -
                                          ORDER O F T H E COURT
      The above modification of conditions of release is ordered, to be effective on
      The above modification of conditions of release is not ordered.




cc:      U.S. Attorney's Office, Defense Counsel, Pretrial Services
